                        UNITED STATES
Case 2:13-cr-14055-JEM Document       DISTRI
                                155 Entered  CTFLSD
                                            on  COURT
                                                    Docket 02/03/2014 Page 1 of 2
                            SOUTHERN DISTRJCT OF FLORIDA
                          CASE N O.13-14055-CR-M ARTlNEZ/LYNCH

 U N ITED STATES OF A M ERICA

        Plaintiff,
 VS.

 M IKE LEW IS RAM IREZ,

         Defendant.


        O R D ER AD O PTIN G M A G ISTR ATE 'S REPO RT A N D REC O M M EN DA TIO N

        THIS CAUSE camebefore theCourtupon theOrderofReferencefrom theDistrict

  Courtto conducta ChangeofPleabeforea M agistrate Judge.
        TH E M A TTER w as referred to M agistrate Judge Frarlk J.Lynch Jr,on January 6,2014.

  A Reportand RecommendationwasfiledonJanuary 13,2014,(D.E.#142),recommendingthat
  theDefendant'splea ofguilty be accepted.During theChange ofPleahearing,theM agistrate
  JudgequestionedtheDefendantregarding hiswaiverofappealin which theDefendant
  acknowledged on the record thathe waswaiving orgivingup al1rightstoappealany sentence
  imposed bytheDistrictCourtin thiscaseexceptunderthe lim ited circumstancescontained

  within theappealwaiverprovision from thePlea Agreem ent.
         ThepartieswereaffordedtheopportunitytotileobjectionstotheReportand
  Recom mendation,howevernonewere filed.TheCourthasreviewed theentire file and record

  andnotesthatnoobjectionshavebeenfiled.Aftercarefulconsideration,theCourtaffirmsand
  adoptsthe Reportand Recom mendation.Accordingly,itishereby:

         ORDERED AND ADJUDGED that
         TheReportandRecommendation(D.E.#142)ofUnited StatesM agistrateJudgeFrankJ.
  Lynch Jr,ishereby AFFIRM ED and ADOPTED in itsentirety.
         TheDefendantisadjudgedguiltytoCountOneoftheIndictment,which chargesthe
  D efendantw ith conspiracy to m anufacture,distribute,and possess with intentto distribute fifty
   (50)gramsormoreofmethamphetamine,inviolationofTitle21,United StatesCode,Section
   841(a)(1)and841(b)(1)(A).
         D O N E AN D O RD ER ED in Cham bers atM iam i, Florida,thi
                                                                   s3 da ofFebruary, 2014.

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                                                   UN IT      STA TES D IST lCT JUD G E
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 Copied;Hon.M agistrateLynch
 A11CounselOfRecord
 U.S.Probation Office
